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                                                                                                 12/4/20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
                                                                        :
Jeffrey M. Goldman                                                      :
                                                                        :    1:20      06727
                                             Plaintiff(s),              :      __ Civ. _____ (AJN)
                           -v-                                          :
SOL GOLDMAN INVESTMENTS LLC, SOLIL MANAGEMENT, LLC and JANE H. GOLDMAN
                                                                        :       CIVIL CASE
                                                                        :    MANAGEMENT PLAN
                                             Defendant(s).              :     AND SCHEDULING
                                                                        :          ORDER
                                                                        :
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       This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance
with Fed. R. Civ. P. 26(f)(3).
                                                                 ✔
    1. All parties [consent ______ / do not consent ______] to conducting all further
       proceedings before a United States Magistrate Judge, including motions and trial
       pursuant to 28 U.S.C. § 636(c). The parties are free to withhold consent without adverse
       substantive consequences.
               [If all parties consent, the remaining paragraphs need not be completed.]
                                                        ✔ taken place.
    2. Settlement discussions [have ______ / have not ______]
                                             ✔ conferred pursuant to Fed. R. Civ. P. 26(f).
    3. The parties [have ______ / have not ______]

    4. [For F.L.S.A. actions only]

        The plaintiff(s) [do_____ / do not______] anticipate moving for conditional certification
        of this case as a collective action.

        The defendant(s) [will_____ / will not______] stipulate to conditional certification.

        [If defendant(s) will not stipulate to conditional certification:]

                 Proposed briefing schedule:

                          Opening:          __________________
                          Opposition:       __________________
                          Reply:            __________________

        [Opening brief to be filed no later than 30 days from the date of the initial pretrial
        conference; full briefing to be completed within 30 days of the opening brief]

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5. Amended pleadings may not be filed and additional parties may not be joined except with
   leave of the Court. Any motion to amend or to join additional parties shall be filed within
   ______
    30     days from the date of this Order. [Absent exceptional circumstances, choose a
   date not more than thirty (30) days following the initial pretrial conference.]

6. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
   ______
    14      days from the date of this Order. [Absent exceptional circumstances, a date not
   more than fourteen (14) days following the initial pretrial conference.]

7. All fact discovery is to be completed no later than _____________.
                                                        April 15, 2021   [A date not more
   than 120 days following the initial pretrial conference, unless the Court finds that the case
   presents unique complexities or other exceptional circumstances.]

8. The parties are to conduct discovery in accordance with the Federal Rules of Civil
   Procedure and the Local Rules of the Southern District of New York. The following
   interim deadlines may be extended by the parties on consent without application to the
   Court, provided that the parties meet the deadline for completing fact discovery set forth
   in ¶ 7 above.

   a.       Initial requests for production of documents shall be served by
            ______________________.
             January 15, 2021


   b.       Interrogatories shall be served by ______________________.
                                               January 15, 2021


   c.       Depositions shall be completed by _______________________.
                                              April 15, 2021


   d.       Requests to admit shall be served by ______________________.
                                                 January 15, 2021


9. All expert discovery, including disclosure of expert reports, production of underlying
   documents, and depositions shall be completed by ______________.
                                                       May 31, 2021       [Absent
   exceptional circumstances, a date forty-five (45) days from the completion of fact
   discovery].

10. All motions and applications shall be governed by the Court’s Individual Rules.

11. All counsel must meet in person for at least one hour to discuss settlement within
    fourteen (14) days following the close of fact discovery.




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12. Counsel for the parties propose the following alternative dispute resolution mechanism(s)
    for this case:
             ✔ Referral to a Magistrate Judge for a settlement conference.
        a. _____
              ✔
        b. _____ Referral to the Southern District’s Mediation Program.

        c. _____ Retention of a private mediator.
                                                                                ✔
    The parties seek the above-noted referral [now _____ / at a later date _____ ].

    Unless otherwise ordered by the Court, settlement discussions do not stay or modify any
    date in this Order.

    [If the parties seek the above-noted referral at a later date:]
                                                    March 30, 2021
    Counsel for the parties will submit a letter by __________________ seeking the referral.

13. Summary Judgment and Daubert motions are to be filed within 30 days of the close of all
    discovery. Absent good cause, the Court will not ordinarily have summary judgment
    practice in a non-jury case.

14. Unless otherwise ordered by the Court, within forty (40) days of the close of all
    discovery, or, if a dispositive motion has been filed, within fourteen (14) days of a
    decision on such motion, the parties file via ECF a Joint Pretrial Report prepared in
    accordance with the Court’s Individual Practices and Fed. R. Civ. P. 26(a)(3). Any
    motions in limine shall be filed via ECF at the same time that the a Joint Pretrial Report is
    filed. If this action is to be tried before a jury, proposed voir dire, jury instructions, and a
    verdict form shall also be filed at the same time as the Joint Pretrial Report.

15. The parties shall be ready for trial within two weeks of filing the Joint Pretrial Report.
                    ✔ / is not ______] to be tried to a jury.
16. This case [is ______

17. Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
    Fed. R. Civ. P. 26(f)(3), are set forth below.
    __________________________________________________________________

    __________________________________________________________________

    __________________________________________________________________

    __________________________________________________________________




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Counsel for the Parties:

D. Maimon Kirschenbaum
_________________________________
                                                    Joshua S. Bauchner, Esq.
                                                   _________________________________

Joseph & Kirschenbaum LLP
_________________________________
                                                    Ansell Grimm & Aaron, P.C.
                                                   _________________________________


Counsel for Plaintiff
_________________________________
                                                    Counsel for all Defendants
                                                   _________________________________

        Except for the dates contained in ¶ 8 above, this Order may not be modified or the dates
herein extended, except by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein shall be made in a written application in accordance with
Court’s Individual Rules and shall be made no fewer than two (2) business days prior to the
expiration of the date sought to be extended. Absent exceptional circumstances, extensions will
not be granted after deadlines have already passed. Ongoing settlement discussions do not
extend any date herein unless expressly ordered by the Court.

                                                                May 21, 2021
       The next Case Management Conference is scheduled for ______________________ at
______________.
    3:45 P.M.



       SO ORDERED.



       December 4, 2020
Dated: _______________                             ____________________________________
      New York, New York                                 JUDGE ALISON J. NATHAN
                                                           United States District Judge




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